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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 7
                                                  §
ALEX JONES,                                       § Case No. 22-33553 (CML)
                                                  §
                Debtor.                           §
                                                  §
                                                  §

CERTIFICATE OF NO OBJECTION WITH RESPECT TO TRUSTEE’S MOTION FOR
     ENTRY OF AN ORDER ESTABLISHING PROCEDURES FOR INTERIM
        COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                   PROFESSIONALS AND TRUSTEE
                       [Relates to Docket No. 757]

          1.    On July 3, 2024, Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for

the bankruptcy estate of Alexander E. Jones, filed the Trustee’s Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Trustee [Docket No. 757] (the “Motion”).

          2.    The deadline for receipt of responses (the “Response Deadline”) to the Motion has

passed.

          3.    The undersigned represents to the Court that the Trustee is unaware of any objection

or response to the Motion appearing on the Court’s docket, that counsel to the Trustee has reviewed

the docket, and no party has filed an objection or response to the relief sought in the Motion.

          4.    Attached hereto is the proposed Order Granting Trustee’s Motion for Entry of an

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Trustee (the “Proposed Order”).

          5.    The Trustee respectfully requests that the Court enter the Proposed Order.




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Dated: July 26, 2024.
       Houston, Texas                         PORTER HEDGES LLP

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                                              And

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                                 CERTIFICATE OF SERVICE

       I certify that on July 26, 2024, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas on all parties receiving electronic service in this bankruptcy case.

                                                      /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl




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